 Case: 1:10-cv-00534-SAS-KLL Doc #: 14 Filed: 09/09/11 Page: 1 of 2 PAGEID #: 69




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

Dorothy Heaton,
                                                      Case No. 1:10-cv-534-SAS-KLL
       Plaintiff,

v.                                                    NOTICE OF DISMISSAL WITH
                                                             PREJUDICE
Delanor, Kemper & Associates, LLC,

       Defendant.

       Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

hereby dismisses the present action with prejudice. This notice is being filed before Defendant

has served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Legal Helpers, P.C.

                                              By:       /s/ Jeffrey S. Hyslip__
                                                    Jeffrey S. Hyslip
                                                    Attorney for Plaintiff
                                                    The Sears Tower
                                                    Suite 5150
                                                    Chicago, IL 60606
                                                    Telephone: 1.866.339.1156
                                                    Jsh@legalhelpers.com




                                                 1
 Case: 1:10-cv-00534-SAS-KLL Doc #: 14 Filed: 09/09/11 Page: 2 of 2 PAGEID #: 70




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2011, I electronically filed the foregoing Notice.

Service of this filing was made by placing a copy of the same in the U.S. Mail on September 9,

2011, addressed to the following:

Delanor, Kemper & Associates, LLC
2221 Peachtree Road, Suite 473
Atlanta, GA 30309
                                                                /s/ Jeffrey Hyslip




                                                2
